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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

ONSTREAM MEDIA                                    §
CORPORATION,                                      §
                                                  § CIVIL ACTION NO. 6:19-cv-00709-ADA
        Plaintiff,                                §
                                                  §
       v.
                                                  § JURY TRIAL DEMANDED
LIFESIZE, INC.,                                   §
                                                  §
        Defendant.                                §
                                                  §
                                                  §

                                 NOTICE OF APPEARANCE

        Defendant Lifesize, Inc., hereby gives notice that Clark Oberembt enters his appearance as

 attorney of record for Lifesize, Inc., and requests that copies of all notices, orders, and pleadings

 be served on the undersigned counsel.




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Date: February 10, 2020                      Respectfully submitted,

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                                             COUNSEL FOR DEFENDANT
                                             LIFESIZE, INC.




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 10, 2020, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (“NEF”)

to the counsel of record who have appeared in this case on behalf of the parties.

                                              /s/ Clark Oberembt
                                              Clark Oberembt




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